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                    Exhibit 1
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                                                                                                           USOO8467366B2


(12) United States Patent                                                             (10) Patent No.:                       US 8.467,366 B2
       Li et al.                                                                      (45) Date of Patent:                            *Jun. 18, 2013
(54) METHODS AND APPARATUS FOR RANDOM                                            (58) Field of Classification Search
       ACCESS IN MULTI-CARRIER                                                            USPC .......................................................... 37O/342
       COMMUNICATION SYSTEMS                                                              See application file for complete search history.
(75) Inventors: Xiaodong Li, Kirkland, WA (US); Titus                            (56)                        References Cited
                Lo, Bellevue, WA (US); Kemin Li,
                Bellevue, WA (US); Haiming Huang,                                                   U.S. PATENT DOCUMENTS
                Bellevue, WA (US)                                                        4,977,593. A     12/1990 Ballance et al.
                                                                                         5,991.308 A      11/1999 Fuhrmann et al.
(73) Assignee: Neocific, Inc., Bellevue, WA (US)                                         6,519,449 B1         2/2003 Zhang et al.
                                                                                      7,995,967 B2            8, 2011 Li et al.
(*) Notice:          Subject to any disclaimer, the term of this                  2010/011 1017 A1*           5, 2010 Um et al. ...................... 370,329
                     patent is extended or adjusted under 35                                    FOREIGN PATENT DOCUMENTS
                     U.S.C. 154(b) by 149 days.                                  KR             2005OO15119 A              2, 2005
                     This patent is Subject to a terminal dis                    KR               100.585233 B1            5, 2006
                     claimer.                                                    KR             20060055636 A              5, 2006
                                                                                                       OTHER PUBLICATIONS
(21) Appl. No.: 13/205,579
                                                                                 International Search Report and Written Opinion; International
(22) Filed:          Aug. 8, 2011                                                Patent Application No. PCT/US05/08169: Filed Mar. 9, 2005; Appli
                                                                                 cant: Waltical Solutions, Inc.; Mailed Jun. 9, 2005: 9 pages.
(65)                    Prior Publication Data
       US 2011 FO292881 A1             Dec. 1, 2011                              * cited by examiner
             Related U.S. Application Data                                       Primary Examiner — Ajibola Akinyemi
                                                                                 (74) Attorney, Agent, or Firm — Perkins Coie LLP
(63) Continuation of application No. 10/583,158, filed as
     application No. PCT/US2005/008169 on Mar. 9,                                (57)                          ABSTRACT
       2005, now Pat. No. 7,995,967.
                                                                                 Methods and apparatus in a multi-carrier cellular wireless
(60) Provisional application No. 60/551,589, filed on Mar.                       network with random access improve receiving reliability
       9, 2004.                                                                  and reduce interference of uplink signals of a random access,
                                                                                 while improving the detection performance of a base station
(51)   Int. C.                                                                   receiver by employing specifically configured ranging sig
       H04Q 7/216                  (2006.01)                                     nals.
(52)   U.S. C.
       USPC ........................................... 370/342; 370/329                            24 Claims, 8 Drawing Sheets

                                                                                                                                     3D




                             3.
                        Base
                        Station

                                                                           302
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                                                       US 8,467,366 B2
                                1.                                                                     2
    METHODS AND APPARATUS FOR RANDOM                                      FIG. 5 illustrates a case of time misalignment in a ranging
         ACCESS IN MULTI-CARRIER                                       signal, with a base station OFDM time frame, due to uncer
         COMMUNICATION SYSTEMS                                         tainty of a mobile station’s round trip delay at an initial stage
                                                                       of random access.
           CROSS-REFERENCE TO RELATED                           FIG. 6 depicts a smeared spectrum of a subcarrier in a
                      APPLICATION(S)                         ranging subchannel when the ranging signal is received using
                                                             a regular OFDM time frame.
   This application is a continuation of U.S. patent applica    FIG. 7 illustrates a ranging sequence's corresponding
tion Ser. No. 10/583,158, entitled “METHODS AND APPA 10 time-domain signal that can be approximated with a binary
RATUS FOR RANDOMACCESS IN MULTI-CARRIER                                Sequence.
COMMUNICATION SYSTEMS, filed Aug. 27, 2008,                              FIG. 8 shows a ranging Subchannel arrangement in which
which is a U.S. National Stage application of PCT/US05/                spacing between Subcarrier blocks in the frequency domain
08169, entitled “METHODSANDAPPARATUS FORRAN                            has no, or minimum, repetition.
DOM ACCESS IN MULTI-CARRIER COMMUNICA 15
TION SYSTEMS, filed Mar. 9, 2005, which claims the                                      DETAILED DESCRIPTION
benefit of U.S. Provisional Patent Application No. 60/551,
589, entitled “METHODS AND APPARATUS FOR RAN                             In the following description, the invention is explained
DOM ACCESS IN MULTI-CARRIER COMMUNICA                                  with respect to Some of its various embodiments, and pro
TION SYSTEMS, filed Mar. 9, 2004.                                      vides specific details for a thorough understanding. However,
                                                                       one skilled in the art will understand that the invention may be
                       BACKGROUND                                      practiced without such details. In other instances, well
                                                                       known structures and functions have not been shown or
   In a wireless communication system, a mobile station first described in detail to avoid obscuring aspects of the embodi
needs to perform a random access for establishing commu 25 mentS.
nication with a base station. The random access typically              Unless the context clearly requires otherwise, throughout
includes two steps: (1) Ranging and (2) Resource Request and the description and the claims, the words "comprise.” “com
Allocation. During Ranging, the mobile station sends a signal prising.” and the like are to be construed in an inclusive sense
to the base station, so that the base station can identify the as opposed to an exclusive or exhaustive sense; that is to say,
mobile station and measure the power and time delay of the 30 in the sense of “including, but not limited to.” Words using the
mobile station, and inform the mobile station for power singular or plural number also include the plural or singular
adjustment and time advance. During Resource Request and number respectively. Additionally, the words “herein.”
Allocation, the uplink and downlink resources for communi this      “above.” “below' and words of similar import, when used in
cation are requested and allocated. Ranging is a critical part of not to application, shall refer to this application as a whole and
multi-carrier wireless communication system, and there are claims any            particular portions of this application. When the
                                                                            use the word 'or' in reference to a list of two or more
several important issues related to ranging:                        items, that word covers all of the following interpretations of
   1. The bandwidth efficiency of the ranging signals
   2. The interference of ranging signal with other uplink andword: the
                                                                         any
                                                                               any of the items in the list, all of the items in the list
                                                                              combination   of the items in the list.
signals                                                          40    The embodiments of this invention disclose methods and
   3. The detection performance and complexity at the base apparatus for random access in a multi-carrier system. In
station receiver                                                    particular, ranging signals are designed to improve receiving
   The ranging process typically involves an exchange of reliability and to reduce interference with other uplink sig
messages between the base station and the mobile station by nals. Furthermore, methods and apparatus are described that
which the mobile station aligns itself with the start of each 45 improve the detection performance at the base station
time slot after compensating for propagation delay and other receiver.
factors. One problem in a shared medium communication                  In a multi-carrier communication system Such as multi
network involves the ranging of many mobile stations. When carrier code division multiple access (MC-CDMA) and
many mobile stations attempt to perform the ranging simul orthogonal frequency division multiple access (OFDMA)
taneously, they are forced to contend for access to the shared 50 systems, information data are multiplexed on Subcarriers that
channel and it becomes difficult for any of the mobile stations are mutually orthogonal in the frequency domain. In effect, a
to complete the ranging process due to the large number of frequency selective channel is partitioned in frequency into a
collisions. As a result, the time needed for all of the mobile      number of parallel, but Small, segments that can be treated as
stations to complete the ranging process is excessive, and flat fading channels and can employ simple one-tap equaliz
much bandwidth on the shared channel is wasted.                  55 ers. The modulation/demodulation can be performed using
                                                                    the fast Fourier transform (FFT).
       BRIEF DESCRIPTION OF THE DRAWINGS                               In a multi-carrier communication system the physical
                                                                    media resource (e.g., radio or cable) can be divided in both the
   FIG. 1 depicts a basic structure of a multi-carrier signal in frequency and time domains. This canonical division pro
the frequency domain, made up of Subcarriers.                    60 vides a high flexibility and fine granularity for resource shar
   FIG. 2 shows a radio resource divided into small units in        ing. A basic structure of a multi-carrier signal in the frequency
both the frequency domain (subchannels) and the time domain is made up of Subcarriers, and within a particular
domain (time slots).                                                spectral band or channel there are a fixed number of subcar
   FIG.3 shows a cellular system with at least one cellandone riers. There are three types of subcarriers:
base station.                                                    65    1. Data Subcarriers, which carry information data;
   FIG. 4 depicts a ranging subchannel composed of at least            2. Pilot Subcarriers, whose phases and amplitudes are pre
one block of subcarriers.                                                   determined and made known to all receivers and which
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                                 3                                                              4
      are used for assisting system functions such as estima using the OFDM time window of regular signals. Therefore,
      tion of system parameters; and                              misaligned Subcarriers within a ranging Subchannel will
   3. Silent subcarriers, which have no energy and are used for interfere with each other and with other data subchannels that
      guard-bands and DC carriers.                                are adjacent to them. In the following description, several
   The data Subcarriers can be arranged into groups called 5 methods are presented to address Such problems.
Subchannels to Support Scalability and multiple-access. The          In one embodiment, the ranging subchannel is composed
carriers forming one subchannel are not necessarily adjacent of multiple blocks of subcarriers. The subcarriers in each
to each other. Each user may use part or all of the Subchannels. block are contiguous in frequency. The signal power of the
The concept is illustrated in FIG. 1 for the interleaved sub subcarriers towards the boundary (the lower ends and the
channels at the base station transmitter. Data Subcarriers can 10
be grouped into subchannels in a particular way and the pilot higher      ends in frequency) of a block is lower than that of the
                                                                  Subcarriers  towards the center of the block. In a special case,
subcarriers are also distributed over the entire channel in a
particular way. The basic structure of a multi-carrier signal in the  power levels of the two subcarriers at both ends of a block
                                                                  are Set to Zero.
the time domain is made up of time slots to Support multiple         In yet another embodiment, each segment of a ranging
access. The resource division in both the frequency and time 15 sequence is a Hadamard sequence and a full ranging sequence
domains is depicted in FIG. 2.                                    is composed of multiple Hadamard sequences. Each segment
   FIG. 3 illustrates a typical cellular structure. In this illus corresponds to a block of contiguous Subcarriers. In Table 1,
tration no distinction is made between a cell and a sector. If a  a typical example is shown for two ranging sequences. Each
cell is divided into sectors, from a system engineering point of segment is a 4-bit Hadamard sequence and each ranging
view each sector can be considered a cell. In this context, the   sequence is composed of 4 segments. The two ranging
terms “cell' and “sector” are interchangeable. Both of them sequences are segment-wise orthogonal to each other.
are generally called a cell. In the communication system of
FIG. 3 Base Station 310 is communicating with Mobile Sta                                    TABLE 1
tions 301 and 302 in Sector A of its cell site while Base Station
320 is communicating with Mobile Stations 303, 304, and 25                            Example of ranging sequences
305 in Sector B of its cell site.
                                                                     Ranging   +1-1+1-1      +1+1+1+1        +1+1-1-1 +1-1-1 +1
   FIG. 4 illustrates two ranging subchannels, each of which        Sequence
is composed of multiple blocks of subcarriers. The subcarri             1
ers in each block are contiguous in frequency. FIG. 4 sche          Ranging    +1+1+1+1      +1-1-1 +1       +1-1+1-1   +1+1-1-1
matically shows that the signal power of the Subcarriers 30         Sequence
                                                                        2
towards the boundary (the lower ends and the higher ends in
frequency) of a block is lower than that of the subcarriers
towards the center of the block. (In a special case, the power        In addition, other properties in signal processing can be
levels of the two subcarriers at both ends of a block are set to   exploited in sequence design. In one embodiment of the
Zero.) Because different factors may cause possible overlap of 35 implementation, the ranging sequence is designed Such that
two subcarrier blocks from to different transmitters, the          its corresponding time-domain signal exhibits relatively low
attenuated boundary Subcarriers will minimize the resulting peak-to-average power ratio. This improves the power effi
interference.                                                      ciency of the mobile station transmission power amplifier.
   In accordance with aspects of some embodiments, the Furthermore, the ranging signal is designed such that the time
ranging signal is carried over a ranging Subchannel that con 40 signal can be approximated with a binary sequence (e.g., FIG.
tains multiple Subcarriers. Either binary or non-binary signals 7), thereby reducing the complexity of the receiver correlator.
can be modulated on the Subcarriers of a ranging Subchannel. While in theory, and even in practice, each modulating digit of
   The sequence of modulating signals in a ranging subchan a ranging sequence can represent a range of logic levels, a
nel is called a ranging sequence. Multiple ranging sequences binary format is practically the simplest representation and
are permitted in a cell. A mobile station chooses a ranging 45 requires the simplest receiver components for its processing.
sequence for random access and uses the sequence to identify FIG. 7 illustrates a ranging sequence's corresponding time
itself in the initial communication with a base station. The       domain signal that can be approximated with a binary
period of a ranging signal is called a ranging slot. A ranging Sequence.
slot may last over one or multiple OFDM symbols. Multiple             In another embodiment, the blocks of a ranging Subchannel
ranging slots can be provided to increase the random access 50 can be distributed or allocated in such a way that the autocor
opportunity and reduce the collision probability.                  relation of a ranging sequence corresponding to the ranging
   In one embodiment, different cells may have different sub Subchannel, in time-domain, exhibits a set of desired proper
carrier configurations for their ranging Subchannels. Differ ties Such as a narrow main peak and low sidelobes. For
ent cells may also have different ranging sequence sets. These example, the blocks can be distributed in the frequency band
differences may be used to identify the association of a 55 of interest Such that there is minimum redundancy in a co
mobile station with a cell.                                        sampling function. In other words, spacing between the
   FIG. 5 illustrates the timing of regular uplink data signals blocks of a ranging subchannel in the frequency domain has
and ranging signals (with a Guard Period G.P.). In the begin no or minimum repetition, as illustrated in FIG. 8, where the
ning of a random access attempt, the mobile station is spacing consists of the set {d, 2d, 3d, 4d, 5d, 6d.
unaware of its round-trip time to the base station. As a result, 60 FIG. 8 is merely an example of such possible arrange
the arrival time of ranging signal at the base station may be ments, where an autocorrelation process only produces one
misaligned with other signals which have been synchronized major peak, regardless of the ranging sequence carried by the
to the base station clock. As depicted in FIG. 5, the random ranging Subchannel blocks. During an autocorrelation pro
access Ranging Signal does not coincide with the expected cess, two copies of a ranging signal move in parallel with
arrival time at the base station. As shown in FIG. 6, time 65 respect to each other, in a step-wise manner, and at each step
misalignment of regular signals and ranging signals can cause the sum of the multiplication of their corresponding values is
spectrum of ranging signals to be Smeared when it is received computed and recorded. Note that in an interval of a ranging
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                               5
Subchannel where there are no Subcarriers, the ranging signal
value is Zero. Therefore, employing the proposed arrange
ments, at any step except for the step during which the two                       C(t) =   Xs(t + t) : (i) for t = 0, 1, ... , D
copies of the ranging signal are substantially aligned, most of
the non-zero values of either copy will correspond to the Zero 5
values of the other copy and the multiplication result of the            where T denotes the length of the time-domain ranging
corresponding values will be zero, which results in low side             sequence, D corresponds to the maximum time delay
lobe values.                                                             allowed by the system, and z*(t) represents the time
   With regard to controlling the power settings of a ranging 10         domain signal of the detected ranging sequence. The
signal, before a random access, a mobile station estimates the           maximum value of C(t) for t=0, 1,..., D is the estimate
path loss from a base station, using the received downlink               of the power of the ranging signal and the corresponding
signal. It uses open-loop power control to set the power level           value of t indicates the time delay associated with the
of the ranging signal. In one embodiment, the mobile station             ranging signal.
adds a negative offset to the open-loop power setting and 15 In the case of ranging sequences composed of Hadamard
gradually ramps up the transmission power of the ranging sequences, the dot-products of the received signal and the
signal as the number of random access failures and retrials ranging sequence in a particular segment in Step 2 can be
increase.                                                           evaluated simultaneously using a single Fast Hadamard
                                                                    Transform (FHT), thereby simultaneously detecting multiple
   In one embodiment, the base station receiver detects the         ranging sequences.
presence of each ranging signal, its time delay, and its power        The above detailed description of the embodiments of the
level through the use of a matched filter, a correlator, or other invention    is not intended to be exhaustive or to limit the
means in the time domain, the frequency domain, or both.            invention to the precise form disclosed above or to the par
   In another embodiment, when the ranging Subchannel is ticular field of usage mentioned in this disclosure. While
composed of blocks of contiguous Subcarriers, the base sta 25 specific embodiments of, and examples for, the invention are
tion performs hierarchical detection: first in frequency described above for illustrative purposes, various equivalent
domain, then in time domain. The detection process is as modifications are possible within the scope of the invention,
follows:                                                            as those skilled in the relevant art will recognize. Also, the
   1. The FFT is applied to a selected window of the received 30 teachings of the invention provided herein can be applied to
      time-domain signal, S(t).                                     other systems, not necessarily the system described above.
   2. For a particular ranging subchannel, its received version, The elements and acts of the various embodiments described
      {r(k)}^, , is correlated in the frequency domain with above     All
                                                                          can be combined to provide further embodiments.
                                                                          of  the above patents and applications and other refer
      the ranging sequences associated with the cell, in a seg ences, including       any that may be listed in accompanying
                                                                 35
      ment-wise fashion, where K is the total number of filing papers, are incorporated herein by reference. Aspects of
      blocks in a ranging subchannel. If the m” sequence the invention can be modified, if necessary, to employ the
      associated with the cell is denoted by {b,(k)}^. , the systems, functions, and concepts of the various references
      correlation value, P, is computed by:                         described above to provide yet further embodiments of the
                                                               40   invention.
                                                                      Changes can be made to the invention in light of the above
                                                                    “Detailed Description.” While the above description details
                                                                    certain embodiments of the invention and describes the best
                                                                  mode contemplated, no matter how detailed the above
                                                               45 appears in text, the invention can be practiced in many ways.
     where the dot-product is computed by:                        Therefore, implementation details may vary considerably
                                                                  while still being encompassed by the invention disclosed
                                                                  herein. As noted above, particular terminology used when
                               W
                                                                  describing certain features or aspects of the invention should
                (r(k) b,(k) = Xxck, n) (c. (k, n)              50 not be taken to imply that the terminology is being redefined
                                                                  herein to be restricted to any specific characteristics, features,
                                                                  or aspects of the invention with which that terminology is
     and where N denotes the number of subcarriers in a             associated.
     block, x(k,n) denotes the received version of the n” 55 notInbegeneral, the terms used in the following claims should
     subcarrier of the k" block in the given ranging subchan ments construed
                                                                      disclosed
                                                                                to limit the invention to the specific embodi
                                                                                  in the specification, unless the above
     nel, and c,(k,n) represents the value of then" subcarrier Detailed Description   section explicitly defines such terms.
     of the k" block in the given ranging subchannel for the Accordingly,    the actual scope of the invention encompasses
     m" sequence. It is noted that that both r(k) and b,(k) not only the disclosed embodiments, but also all equivalent
     are vectors of the dimension same as the segment length. 60 ways of practicing or implementing the invention under the
     If P is greater than a given threshold, this indicates that
     a ranging signal corresponding to the m” sequence has claims.   While certain aspects of the invention are presented below
     been detected.
                                                                  in certain claim forms, the inventors contemplate the various
  3. For the ranging signal identified in Step 2, a time-domain aspects of the invention in any number of claim forms.
     correlation of the full sequence of the ranging signal is 65 Accordingly, the inventors reserve the right to add additional
     performed, in a sliding-window fashion, to find the time claims after filing the application to pursue such additional
     delay of that ranging signal, that is:                       claim forms for other aspects of the invention.
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  We claim:                                                                the ranging signal is formed from a ranging sequence
   1. In a multi-cell orthogonal frequency division multiple                 selected from a set of ranging sequences associated
access (OFDMA) wireless communication system compris                         with the cell for identifying a mobile station;
ing a plurality of base stations and mobile stations, a mobile             the ranging signal lasts over a period of one or multiple
station configured to communicate with a serving base station 5              orthogonal frequency division multiplexing (OFDM)
in a cell via a communication channel, the mobile station                    symbols and the ranging signal exhibits a low peak
comprising:                                                                  to-average power ratio in the time domain; and
  an apparatus configured to transmit a data signal to the                 the ranging Subchannel comprises at least one block of
     serving base station in the cell over a data Subchannel,                 Subcarriers within the communication channel and
     wherein the data subchannel comprises a plurality of 10                  power levels of subcarriers at both ends of a block are
     adjacent or non-adjacent Subcarriers within the commu                    Set to Zero.
     nication channel; and                                              10. The base station of claim 9, wherein the subcarrier
  an apparatus configured to transmit a ranging signal to the         configuration of the ranging Subchannel for the cell is differ
    serving base station in the cell over a ranging Subchannel        ent from Subcarrier configurations of ranging subchannels for
     for random access, wherein:                                 15   other cells.
     the ranging signal is formed from a ranging sequence              11. The base station of claim 9, wherein the set of ranging
       selected from a set of ranging sequences associated          sequences for the cell is different from sets of ranging
       with the cell for identifying the mobile station;            sequences for other cells.
     the ranging signal lasts over a period of one or multiple         12. The base station of claim 9, further comprising an
       orthogonal frequency division multiplexing (OFDM)            apparatus configured to detect the ranging sequence in the
       symbols and the ranging signal exhibits a low peak           received ranging signal in the time domain, frequency
       to-average power ratio in the time domain; and               domain, or both time and frequency domain.
     the ranging Subchannel comprises at least one block of            13. The base station of claim 12, wherein the apparatus
         Subcarriers within the communication channel and           applies matched filtering to the received ranging signal to
        power levels of subcarriers at both ends of a block are 25 detect the ranging sequence.
         Set to Zero.                                                  14. The base station of claim 12, wherein the apparatus
   2. The mobile station of claim 1, wherein the subcarrier         correlates the received ranging signal with a ranging
configuration of the ranging Subchannel for the cell is differ sequence stored at the base station to detect the ranging
ent from Subcarrier configurations of ranging Subchannels for Sequence.
other cells.                                                     30    15. The base station of claim 9, further comprising an
   3. The mobile station of claim 1, wherein the set of ranging apparatus configured to detect a time delay of the received
sequences for the cell is different from sets of ranging ranging signal and to inform the second mobile station to
sequences for other cells.                                          adjust transmission time based on the detected time delay.
   4. The mobile station of claim 1, wherein subcarriers in a          16. The base station of claim 9, further comprising an
block are contiguous in frequency.                               35 apparatus configured to detect a power level of the received
   5. The mobile station of claim 1, further comprising an ranging signal and to inform the second mobile station to
apparatus configured to control a transmission power of the adjust a transmission power based on the detected power
ranging signal using an open-loop power control method by:          level.
   estimating a path loss between the serving base station and         17. In an orthogonal frequency division multiple access
      the mobile station based on a received downlink signal; 40 (OFDMA) wireless communication system, a method for
   setting the transmission power of the ranging signal based signal transmission by a mobile station to a serving base
      on the path loss; and                                         station via a communication channel, the method comprising:
   increasing the transmission power of the ranging signal for         transmitting a data signal over a data subchannel to the
      retransmission.                                                     serving base station, wherein the data Subchannel com
   6. The mobile station of claim 1, wherein a power level of 45          prises a plurality of adjacent or non-adjacent Subcarriers
Subcarriers towards the high-end and low-end frequency                    within the communication channel; and
boundaries of a block of subcarriers is lower than a power             transmitting a ranging signal over a ranging Subchannel to
level of subcarriers towards the center of the block.                     the serving base station for random access, wherein:
   7. The mobile station of claim 1, wherein boundary sub                 the ranging signal is formed from a ranging sequence
carriers of a block of Subcarriers in the ranging Subchannel are 50          selected from a set of ranging sequences for identify
attenuated to reduce interference with other uplink signals                  ing the mobile station;
when signal time misalignment occurs at the base station.                 the ranging signal lasts over a period of one or multiple
   8. The mobile station of claim 1, wherein the ranging                     orthogonal frequency division multiplexing (OFDM)
sequence is a binary or non-binary sequence.                                 symbols and the ranging signal exhibits a low peak
   9. In a multi-cell orthogonal frequency division multiple 55             to-average power ratio in the time domain; and
access (OFDMA) wireless communication system, a base                      the ranging Subchannel comprises at least one block of
station configured to communicate with mobile stations in a                  Subcarriers within the communication channel and
cell via a communication channel, the base station compris                   power levels of subcarriers at both ends of a block are
ing:                                                                         Set to Zero.
   an apparatus configured to receive a data signal from a first 60 18. The method of claim 17, wherein a power level of
      mobile station in the cell over a data subchannel,            Subcarriers towards the high-end and low-end frequency
      wherein the data subchannel comprises a plurality of boundaries of a block of subcarriers is lower than a power
      adjacent or non-adjacent Subcarriers within the commu level of subcarriers towards the center of the block.
      nication channel; and                                            19. The method of claim 17, wherein boundary subcarriers
   an apparatus configured to receive a ranging signal from a 65 of a block of subcarriers in the ranging subchannel are attenu
      second mobile station in the cell over a ranging subchan ated to reduce interference with other uplink signals when
      nel for random access, wherein:                               signal time misalignment occurs at the base station.
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                             9                                                                  10
  20. The method of claim 17, wherein subcarriers in a block           the ranging signal is formed from a ranging sequence
are contiguous in frequency.                                             selected from a set of ranging sequences for identify
   21. The method of claim 17, further comprising controlling            ing the mobile station;
a transmission power of the ranging signal using an open-loop          the ranging signal lasts over a period of one or multiple
power control method by:                                                 orthogonal frequency division multiplexing (OFDM)
   estimating a path loss between the serving base station and           symbols and the ranging signal exhibits a low peak
     the mobile station based on a received downlink signal;             to-average power ratio in the time domain; and
   setting the transmission power of the ranging signal based
      on the path loss; and                                            the ranging Subchannel comprises at least one block of
   increasing the transmission power of the ranging signal for 10         Subcarriers within the communication channel and
     retransmission.                                                      power levels of subcarriers at both ends of a block are
   22. In an orthogonal frequency division multiple access                Set to Zero.
(OFDMA) wireless communication system, a method for                 23. The method of claim 22, further comprising detecting a
receiving signals by a base station from a plurality of mobile time delay of the received ranging signal and informing the
stations via a communication channel, the method compris 15 second mobile station to adjust transmission time based on
ing:                                                              the detected time delay.
   receiving a data signal over a data subchannel from a first      24. The method of claim 22, further comprising detecting a
     mobile station, wherein the data Subchannel comprises a power       level of the received ranging signal and informing the
     plurality of adjacent or non-adjacent Subcarriers within
     the communication channel; and                               second  mobile station to adjust a transmission power based on
   receiving a ranging signal over a ranging Subchannel for    20 the detected  power level.
     random access by a second mobile station, wherein:                                   k   k   k    k  k
